                        UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA


GROUNDFISH FORUM, INC.,

                    Plaintiff,

      vs.
                                              CIVIL NO. 3:23-cv-00283-JMK
NATIONAL MARINE FISHERIES
SERVICE, et al.,                              FEDERAL DEFENDANTS’
                                              OPPOSITION TO PLAINTIFF’S
                    Defendants,               MOTION FOR SUMMARY
      and                                     JUDGMENT AND CROSS-MOTION
                                              FOR SUMMARY JUDGMENT
CENTRAL BERING SEA FISHERMAN’S
ASSOCIATION, et al.,

                    Intervenor-Defendants.


      Federal Defendants – National Marine Fisheries Service (“NMFS”); National

Oceanic and Atmospheric Administration (“NOAA”); Gina Raimondo – in her official

capacity as the United States Secretary of Commerce; and, Janet Coit, in her official

capacity as Assistant Administrator of NOAA – respectfully cross-move under Federal

Rule of Civil Procedure 56 for summary judgment on all claims in Plaintiff’s Complaint.

See ECF No. 1.

      Federal Defendants are entitled to summary judgment because NMFS complied

with the requirements of the Magnuson-Stevens Fishery Conservation and Management

Act and the National Environmental Policy Act in issuing the rule to implement

Amendment 123 to the Fishery Management Plan for the Groundfish of the Bering Sea



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and Aleutian Islands. This cross-motion is supported by the previously filed

Administrative Records (ECF Nos. 20 and 25), the accompanying Memorandum in

Support of Defendants’ Cross Motion and Opposition to Plaintiff’s Motion for Summary

Judgment, and upon such oral and/or documentary evidence as may be presented in any

hearing on this motion.

      Plaintiffs also waived all claims not raised in their opening brief (ECF No. 36).

See Friends of Yosemite Valley v. Kempthorne, 520 F.3d 1024, 1033 (9th Cir. 2008)

(“Arguments not raised by a party in its opening brief are deemed waived.”); see, e.g.,

ECF No. 1 (First Claim ¶ 87(e)-(m); Second Claim ¶¶ 93-96).



Dated: June 27, 2024                     Respectfully submitted,

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                                         United States Department of Justice
                                         Environment & Natural Resources Division

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